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                          Exhibit 006
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                                   Exhibit 6 - Bellwether Attack Table

Attack       Date        Province      Iranian              Attack Victim(s)          Bellwether Plaintiffs
 No.                                   Agent(s)
                                                  IED Attacks
  1      July 7, 2004    Saladin      AAI           PFC Nicholas Blodgett (KIA)    Rita Blodgett (Mother)
  2      April 28,       Nineveh      Zarqawi       1LT William Edens (KIA)        Christina Linden (Widow)
         2005                         org.          SPC Ricky Rockholt (KIA)       Jason Rockholt (Brother)
  3      August 21,      Al Anbar     Zarqawi       Sgt. Adam Kisielewski (ret.)   Sgt. Adam Kisielewski
         2005                         org.          (WIA)                          (ret.) (Self)
  4      June 9, 2006    Al Anbar     Zarqawi       LCpl. Brent Zoucha (KIA)       Rita Zoucha (Mother)
                                      org.
  5      February 8,     Al Anbar     Zarqawi       SGT Ross Clevenger (KIA)       Brandon Clevenger
         2007                         org.                                         (Brother)
  6      February 11,    Al Anbar     Zarqawi       SGT Russell Kurtz (KIA)        Roger Kurtz (Father)
         2007                         org.                                         Stephanie Kurtz (Sister)
  7      March 5,        Saladin      Zarqawi       SSG Justin Estes (KIA)         Norma Estes (Half-Sister)
         2007                         org.
  8      April 7, 2007   Diyala       Zarqawi       CPT Jonathan Grassbaugh        Patricia Grassbaugh
                                      org.          (KIA)                          (Mother)
                                                    PFC Rodney McCandless
                                                    (KIA)
                                                    SPC Levi Hoover (KIA)
  9      May 28,         Diyala       Zarqawi       SPC James Summers (KIA)        Michael Summers
         2007                         org.          SPC Zachary Baker (KIA)        (Brother)
                                                    1LT Kile West (KIA)            Nanette West (Mother)
                                                                                   Clark West (Father)
 10      October 14,     Baghdad      Zarqawi       SFC Justin Monschke (KIA)      Patty Jett (Mother)
         2007                         org.
 11      October 24,     Saladin      Zarqawi       SFC Robin Towns, Sr.           Shelia Towns (Widow)
         2007                         org.
 12      January 9,      Diyala       Zarqawi       SSG Jonathan Dozier (KIA)      Martha Cabe (Mother)
         2008                         org.          SGT Zachary McBride (KIA)      Sarah Lambert (Sister)
                                                    SFC Matthew Pionk (KIA)        Duane Pionk (Father)
                                                Complex Attacks
 13      April 9, 2004   Baghdad      Zarqawi       SGT Elmer Krause (KIA)         Jonathan Krause (Son)
                                      org.          Mr. Stephen Hulett (KIA)       Gerald Krause (Brother)
                                                    Mr. Timothy Bell (KIA)         Lisa Kaufman (Daughter)
                                                    Mr. Tony Johnson (KIA)         Alexandria Parks
                                                    Mr. Jack Montague (KIA)        (Stepdaughter)
                                                                                   Felicia Bell Carter (Sister)
                                                                                   Michael Bell (Brother)



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Attack       Date        Province    Iranian             Attack Victim(s)          Bellwether Plaintiffs
 No.                                 Agent(s)

 14      April 11,       Babil      Zarqawi      SGM Michael Stack (KIA)       Milissa Wojtowicz
         2004                       org.                                       (Daughter)
                                                                               Virginia Maitland
                                                                               (Daughter)
 15      June 12,        Diyala     Zarqawi      CPL Damon LeGrand (KIA)       Ashley LeGrand Rawlings
         2007                       org.                                       (Widow)
                                                                               K.L., a minor (Daughter)
 16      January 28,     Nineveh    Zarqawi      SGT James Craig (KIA)         Kelly Inman (Sister)
         2008                       org. &       CPL Evan Marshall (KIA)       Natalie Jackson (Widow)
                                    AAI
                                                 PV2 Joshua Young (KIA)        Andrew Marshall (Father)
                                                                               Sheila Marshall (Mother)
                                                                               Brandi Yanez (Sister)
                                              Suicide Attacks
 17      May 14,         Saladin    AAI          SGT James Harlan (KIA)        Tara Roberts (Daughter)
         2004
 18      October 14,     Baghdad    Zarqawi      Mr. John Pinsonneault (KIA)   Jacob Kosky (Stepson)
         2004                       org.
 19      December        Nineveh    AAI          SSG Lynn Poulin (KIA)         Nancy Poulin (Sister)
         21, 2004                                SSG Julian Melo (KIA)
                                                 PVT Lionel Ayro (KIA)
 20      December 9,     Baghdad    Zarqawi      SGT Adrian Orosco (KIA)       Noe Orosco, Sr. (Father)
         2005                       org.
 21      April 10,       Nineveh    Zarqawi      CPL Jason Pautsch (KIA)       Josef Pautsch (Brother)
         2009                       org.         SSG Bryan Hall (KIA)          Becky Johnson (Mother)
                                                 SGT Edward Forrest (KIA)
                                                 SSG Gary Woods (KIA)
                     Small Arms, Rocket-Propelled Grenade, and Anti-Aircraft Attacks
 22      January 20,     Diyala     Zarqawi      CSM Marilyn Gabbard (KIA)     Marla Van Cannon (Sister)
         2007                       org.                                       Michael Van Cannon
                                                                               (Brother)
 23      February 18,    Al Anbar   Zarqawi      PFC Kelly Youngblood (KIA)    Richard Gervasi II (Half-
         2007                       org.                                       Brother)
                                          Indirect Fire Attacks
 24      April 24,       Baghdad    AAI          CPT Arthur Felder (KIA)       Cheryl Felder Stuart
         2004                                    SSG Billy Orton (KIA)         (Mother)
                                                                               Manaser Orton (Adopted
                                                                               Son)
 25      May 25,         Babil      Zarqawi      SGT Alan Bean (KIA)           Alan Bean, Sr. (Father)
         2004                       org.




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